Case 1:24-cv-22883-KMW Document 1 Entered on FLSD Docket 07/29/2024 Page 1 of 12




                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                                    CASE NO.:

   CARLOS BRITO,

        Plaintiff,

   v.

   PROLOGIS, L.P. f/k/a AMB PROPERTY,
   L.P.; and PECLAU LLC d/b/a BOCAS
   GRILL,

        Defendants.
                                                       /

                                               COMPLAINT

          Plaintiff, CARLOS BRITO, individually and on behalf of all other similarly situated

   mobility-impaired individuals (hereinafter “Plaintiff”), sues PROLOGIS, L.P. f/k/a AMB

   PROPERTY, L.P.; and PECLAU LLC d/b/a BOCAS GRILL; (hereinafter “Defendants”), and as

   grounds alleges:

                                 JURISDICTION, PARTIES, AND VENUE

          1.         This is an action for injunctive relief, attorneys' fees, litigation expenses, and costs

   pursuant to 42 U.S.C. § 12181, et seq., (the “Americans with Disabilities Act” or “ADA”).

          2.         The Court has original jurisdiction over Plaintiff’s claims arising under 42 U.S.C.

   § 12181, et seq. pursuant to 28 U.S.C. §§ 1331, 1343 and 42 U.S.C. § 12117(a).

          3.         Plaintiff, CARLOS BRITO, is an individual over eighteen years of age, with a

   residence in Miami-Dade County, Florida, and is otherwise sui juris.

          4.         At all times material, Defendant, PROLOGIS, L.P. f/k/a AMB PROPERTY, L.P.,

   owned and operated a commercial property at 3399 NW 72nd Avenue, Miami, Florida, 33122,

   (hereinafter the “Commercial Property”) and conducted a substantial amount of business in that


                                                        1
Case 1:24-cv-22883-KMW Document 1 Entered on FLSD Docket 07/29/2024 Page 2 of 12




   place of public accommodation in Miami Dade County, Florida.

          5.      At all times material, Defendant, PROLOGIS, L.P. f/k/a AMB PROPERTY, L.P.,

   was and is a Foreign Limited Partnership registered to conduct business in the State of Florida,

   with its principal place of business listed in Denver, Colorado.

          6.      At all times material, Defendant, PECLAU LLC d/b/a BOCAS GRILL, owned

   and/or operated a commercial restaurant within the Commercial Property and conducted a

   substantial amount of business in that place of public accommodation in Miami-Dade County,

   Florida. Defendant, PECLAU LLC, holds itself out to the public as “BOCAS GRILL.”

          7.      At all times material, Defendant, PECLAU LLC was and is a Florida Limited

   Liability Company, organized under the laws of the State of Florida, with its principal place of

   business in Miami, Florida.

          8.      Venue is properly located in the Southern District of Florida because Defendants’

   Commercial Property is located in Miami-Dade County, Florida, Defendants regularly conduct

   business within Miami-Dade County, Florida, and because a substantial part(s) of the events or

   omissions giving rise to these claims occurred in Miami-Dade County, Florida.

                                     FACTUAL ALLEGATIONS

          9.      Although over thirty (30) years have passed since the effective date of Title III of

   the ADA, Defendants have yet to make their facilities accessible to individuals with disabilities.

          10.     Congress provided commercial businesses one and a half years to implement the

   Act. The effective date was January 26, 1992. In spite of this abundant lead-time and the extensive

   publicity the ADA has received since 1990, Defendants have continued to discriminate against

   people who are disabled in ways that block them from access and use of Defendants’ property

   and the businesses therein.




                                                   2
Case 1:24-cv-22883-KMW Document 1 Entered on FLSD Docket 07/29/2024 Page 3 of 12




          11.     The ADA prohibits discrimination on the basis of disability in 28 CFR 36.201 and

   requires landlords and tenants to be liable for compliance.

          12.     Plaintiff, CARLOS BRITO, is an individual with disabilities as defined by and

   pursuant to the ADA. Plaintiff, CARLOS BRITO, is, among other things, a paraplegic (paralyzed

   from his T-6 vertebrae down) and is therefore substantially limited in major life activities due to

   his impairment, including, but not limited to, not being able to walk or stand. Plaintiff requires

   the use of a wheelchair to ambulate

          13.     The Plaintiff is a staunch advocate of the ADA. Since becoming aware of his

   rights, and their repeated infringement, he has dedicated his life to this cause so that he, and others

   like him, may have full and equal enjoyment of public accommodations without the fear of

   discrimination and repeated exposure to architectural barriers in violation of the ADA.

          14.     He is often frustrated and disheartened by the repetitiveness of the complaints he

   is forced to make to employees and management at different places of public accommodation

   over thirty (30) years after the legislation of the ADA, to no avail. The Plaintiff is accordingly of

   the belief that the only way to affect change is through the mechanisms provided under the ADA.

          15.     Defendant, PROLOGIS, L.P. f/k/a AMB PROPERTY, L.P., owns, operates, and

   oversees the Commercial Property, its general parking lot and parking spots specific to the

   businesses therein, located in Miami Dade County, Florida, that is the subject of this Action.

          16.     The subject Commercial Property is open to the public. The individual Plaintiff

   visits the Commercial Property and businesses located within the commercial property, to include

   visits to the Commercial Property and business located within the Commercial Property on or

   about May 18, 2024, and encountered multiple violations of the ADA that directly affected his

   ability to use and enjoy the Commercial Property. He plans to return to the Commercial Property




                                                     3
Case 1:24-cv-22883-KMW Document 1 Entered on FLSD Docket 07/29/2024 Page 4 of 12




   within two (2) months of the filing of this Complaint, in order to avail himself of the goods and

   services offered at the place of public accommodation and check if it has been remediated of the

   ADA violations he encountered.

          17.     The Plaintiff found the Commercial Property and the businesses named herein

   located within the Commercial Property to be rife with ADA violations. The Plaintiff encountered

   architectural barriers at the Commercial Property, and businesses named herein located within the

   Commercial Property, and wishes to continue his patronage and use of each of the premises.

          18.     The Plaintiff has encountered architectural barriers that are in violation of the ADA

   at the subject Commercial Property and businesses located within the Commercial Property. The

   barriers to access at the Commercial Property, and businesses within, have each denied or

   diminished Plaintiff’s ability to visit the Commercial Property and have endangered his safety in

   violation of the ADA. The barriers to access, which are set forth below, have likewise posed a

   risk of injury(ies), embarrassment, and discomfort to Plaintiff, CARLOS BRITO, and others

   similarly situated.

          19.     Defendants, PROLOGIS, L.P. f/k/a AMB PROPERTY, L.P. and PECLAU LLC,

   own and/or operate places of public accommodation as defined by the ADA and the regulations

   implementing the ADA, 28 CFR 36.201 (a) and 36.104. Defendants, PROLOGIS, L.P. f/k/a AMB

   PROPERTY, L.P. and PECLAU LLC, are responsible for complying with the obligations of the

   ADA. The place of public accommodation where Defendants, PROLOGIS, L.P. f/k/a AMB

   PROPERTY, L.P. and PECLAU LLC, own and/or operate are the Commercial Property and/or

   Business located at 3399 NW 72nd Avenue, Miami, Florida, 33122.

          20.     Defendants, PROLOGIS, L.P. f/k/a AMB PROPERTY, L.P. and PECLAU LLC

   are jointly liable and responsible for all the violations listed in Count II of this Complaint.




                                                   4
Case 1:24-cv-22883-KMW Document 1 Entered on FLSD Docket 07/29/2024 Page 5 of 12




   Defendant, PROLOGIS, L.P. f/k/a AMB PROPERTY, L.P. as landlord of the commercial

   property is liable for all the violations listed in this Complaint.

           21.     Plaintiff, CARLOS BRITO, has a realistic, credible, existing, and continuing

   threat of discrimination from the Defendants’ non-compliance with the ADA with respect to the

   described Commercial Property, and with respect to the allegations of this Complaint. Plaintiff

   has reasonable grounds to believe that he will continue to be subjected to discrimination at the

   Commercial Property, in violation of the ADA. Plaintiff desires to visit the Commercial Property

   and business located therein, not only to avail himself of the services available at the Commercial

   Property, but to assure himself that the Commercial Property and business therein are in

   compliance with the ADA, so that he and others similarly situated will have full and equal

   enjoyment of the Commercial Property without fear of discrimination. Plaintiff Carlos Brito

   resides approximately fourteen (14) miles from the Commercial Property and the property is near

   other businesses Mr. Brito frequently visits.

           22.     Defendants have discriminated against the individual Plaintiff by denying him

   access to, and full and equal enjoyment of, the goods, services, facilities, privileges, advantages

   and/or accommodations of the Commercial Property and business located therein, as prohibited

   by 42 U.S.C. § 12182 et seq.

                      COUNT I – ADA VIOLATIONS AS TO DEFENDANT
                        PROLOGIS, L.P. f/k/a AMB PROPERTY, L.P.

           23.     The Plaintiff adopts and re-alleges the allegations set forth in paragraphs 1 through

   22 above as though fully set forth herein.

           24.     Defendant, PROLOGIS, L.P. f/k/a AMB PROPERTY, L.P., has discriminated, and

   continues to discriminate against Plaintiff in violation of the ADA by failing, inter alia, to have

   accessible facilities by January 26, 1992 (or January 26, 1993, if Defendants have 10 or fewer



                                                      5
Case 1:24-cv-22883-KMW Document 1 Entered on FLSD Docket 07/29/2024 Page 6 of 12




   employees and gross receipts of $500,000 or less). A list of the violations that Plaintiff

   encountered during his visit to the Commercial Property are the following:

   Common Areas

         A. Parking

    i.    Plaintiff had difficulty exiting the vehicle, as designated accessible parking spaces are

          located on an excessive slope. Violation: there are accessible parking spaces located on an

          excessive slope violating Section 4.6.3 of the ADAAG and Section 502.4 of the 2010 ADA

          Standards, whose resolution is readily achievable.

   ii.    Plaintiff had difficulty exiting the vehicle, as designated accessible parking space access

          aisles are located on an excessive slope. Violation: there are accessible parking space access

          aisles located on an excessive slope violating Section 4.6.3 of the ADAAG and Section

          502.4 of the 2010 ADA Standards, whose resolution is readily achievable

         B. Entrance Access and Path of Travel

    i.    Plaintiff had difficulty traversing the path of travel, as it was not continuous and accessible.

          Violation: there are inaccessible routes from the public sidewalk and transportation stop.

          These are violations of the requirements in Sections 4.3.2(1), 4.3.8, 4.5.1, and 4.5.2 of the

          ADAAG and Sections 206.2.1, 302.1, 303, and 402.2 of the 2010 ADA Standards, whose

          resolution is readily achievable.

   ii.    Plaintiff had difficulty on the path of travel at the facility, as ramps do not have compliant

          handrails violating Section 4.8.5 of the ADAAG and Section 405.8 of the 2010 ADA

          Standards, whose resolution is readily achievable.

  iii.    There are objects on the path of travel that protrude more than the maximum allowable,

          violating Section 4.4.1 of ADAAG and Section 307.2 of the 2010 ADA Standards, whose




                                                      6
Case 1:24-cv-22883-KMW Document 1 Entered on FLSD Docket 07/29/2024 Page 7 of 12




          resolution is readily achievable.

  iv.     Plaintiff could not enter tenant spaces without assistance, as the required level landing is not

          provided. Violation: a level landing that is sixty (60) inches minimum perpendicular to the

          doorway is not provided at accessible entrances violating Section 4.13.6 and Figure 25(a)

          of the ADAAG and Section 404.2.4 of the 2010 ADA Standards, whose resolution is readily

          achievable.

                   COUNT II – ADA VIOLATIONS AS TO DEFENDANTS
                PROLOGIS, L.P. f/k/a AMB PROPERTY, L.P. AND PECLAU LLC

          25.      The Plaintiff adopts and re-alleges the allegations set forth in paragraphs 1

   through 22 above as though fully set forth herein.

          26.      Defendants, PROLOGIS, L.P. F/K/A AMB PROPERTY, L.P., and PECLAU

   LLC, have discriminated, and continue to discriminate, against Plaintiff in violation of the ADA

   by failing, inter alia, to have accessible facilities by January 26, 1992 (or January 26, 1993, if a

   Defendant has 10 or fewer employees and gross receipts of $500,000 or less). A list of the

   violations that Plaintiff encountered during his visit to the Commercial Property and Business,

   include but are not limited to, the following:

         A. Public Restrooms

    i.    The restroom signage is not mounted at the required location, violating Section 4.30.6 of

          the ADAAG and Section 703.4 of the 2010 ADA Standards, whose resolution is readily

          achievable.

   ii.    Plaintiff could not enter the restroom without assistance, as the required maneuvering

          clearance is not provided on the push side. Violation: the restroom door does not provide

          the required latch side clearance violating Section 4.13.6 of the ADAAG and Section

          404.2.4 of the 2010 ADA Standards, whose resolution is readily achievable.



                                                      7
Case 1:24-cv-22883-KMW Document 1 Entered on FLSD Docket 07/29/2024 Page 8 of 12




  iii.   Plaintiff had difficulty using the locking mechanism on the restroom door without

         assistance, as it requires tight grasping. Violation: the restroom door has non-compliant

         hardware for disabled patrons, violating Sections 4.13.9 & 4.27.4 of the ADAAG and

         Sections 309.4 & 404.2.7 of the 2010 ADA Standards, whose resolution is readily

         achievable.

  iv.    Plaintiff was exposed to a cutting/burning hazard because the lavatory pipes are not

         wrapped. Violation: the lavatory pipes are not fully insulated or maintained violating

         Section 4.19.4 of the ADAAG and Section 606.5 of the 2010 ADA Standards, whose

         resolution is readily achievable.

   v.    Plaintiff could not use the paper towel dispenser without assistance, as it is mounted too

         high. Violation: there are dispensers provided for public use in the restroom, with controls

         outside the ranges prescribed in Sections 4.2.5, 4.2.6, and 4.27.3 of the ADAAG and

         Sections 308 & 309.3 of the 2010 ADA Standards, whose resolution is readily achievable.

  vi.    Plaintiff could not use the lavatory without assistance, as it is mounted too high. Violation:

         there are lavatories in public restrooms with the counter surface mounted too high, violating

         the requirements in Section 4.19.2 and Figure 31 of the ADAAG and Section 606.3 of the

         2010 ADA Standards, whose resolution is readily achievable.

  vii.   Plaintiff could not use the mirror, as it is mounted too high. Violation: the mirrors provided

         in the restrooms are in violation of the requirements in Section 4.19.6 of the ADAAG and

         Section 603.3 of the 2010 ADA Standards, whose resolution is readily achievable.

 viii.   Plaintiff could not transfer to the toilet without assistance, as the grab bars are missing.

         Violation: the grab bars do not comply with the requirements prescribed in Section 4.16.4

         and Figure 29 of the ADAAG and Sections 604.5 and 609 of the 2010 ADA Standards,




                                                    8
Case 1:24-cv-22883-KMW Document 1 Entered on FLSD Docket 07/29/2024 Page 9 of 12




         whose resolution is readily achievable.

  ix.    Plaintiff could not flush the toilet without assistance, as the flush valve is not mounted on

         the wide area. Violation: the flush valve is not mounted on the compliant side in violation

         of Section 4.16.5 of the ADAAG and Section 604.6 of the 2010 ADA Standards, whose

         resolution is readily achievable

                                 RELIEF SOUGHT AND THE BASIS

         27.       Plaintiff requests an inspection of the Defendants’ place of public accommodation

   in order to photograph and measure all of the discriminatory acts violating the ADA identified in

   this Complaint in conjunction with Rule 34 and timely notice. Plaintiff requests to be allowed to

   be physically present at such inspection in conjunction with Rule 34 and timely notice. Plaintiff

   requests the inspection in order to participate in crafting a remediation plan to address Plaintiff’s

   request for injunctive relief. The remediations for the ADA violations listed herein are readily

   achievable.

         28.       The individual Plaintiff, and all other individuals similarly situated, have been

   denied access to and have been denied full and equal enjoyment of the goods, services, facilities

   privileges, benefits, programs, and activities offered by the Defendants, Defendants’ building, the

   businesses, and facilities therein; and has otherwise been discriminated against and damaged by

   the Defendants because of the Defendants’ ADA violations as set forth above. The individual

   Plaintiff, and all others similarly situated, will continue to suffer such discrimination, injury and

   damage without the immediate relief provided by the ADA, as requested herein. Plaintiff requests

   the inspection of the barriers listed herein in order to participate in crafting a remediation plan to

   address Plaintiff’s request for injunctive relief.

           29.     Defendants have discriminated against the individual Plaintiff by denying him




                                                        9
Case 1:24-cv-22883-KMW Document 1 Entered on FLSD Docket 07/29/2024 Page 10 of 12




   access to full and equal enjoyment of the goods, services, facilities, privileges, advantages and/or

   accommodations of its place of public accommodation or commercial facility, in violation of 42

   U.S.C. § 12181 et seq. and 28 CFR 36.302 et seq. Furthermore, Defendants continue to

   discriminate against Plaintiff, and all those similarly situated, by failing to make reasonable

   modifications in policies, practices or procedures, when such modifications are necessary to

   afford all offered goods, services, facilities, privileges, advantages or accommodations to

   individuals with disabilities; and by failing to take such efforts that may be necessary to ensure

   that no individual with a disability is excluded, denied services, segregated or otherwise treated

   differently than other individuals because of the absence of auxiliary aids and services.

             30.   Plaintiff is without adequate remedy at law, will suffer irreparable harm, and has

   a clear legal right to the relief sought. Further, injunctive relief will serve the public interest and

   all those similarly situated to Plaintiff. Plaintiff has retained the undersigned counsel and is

   entitled to recover attorneys’ fees, costs, and litigation expenses from Defendants pursuant to 42

   U.S.C. § 12205 and 28 CFR 36.505.

             31.   Defendants are required to remove the existing architectural barriers to the

   physically disabled when such removal is readily achievable for its place of public

   accommodation. The Plaintiff and all others similarly situated, will continue to suffer such

   discrimination, injury and damage without the immediate relief provided by the ADA as requested

   herein.

             32.   Notice to a defendant is not required as a result of the defendants’ failure to cure

   the violations by January 26, 1992 (or January 26, 1993, if a Defendant has 10 or fewer employees

   and gross receipts of $500,000 or less). All other conditions precedent have been met by Plaintiff

   or waived by the Defendants.




                                                     10
Case 1:24-cv-22883-KMW Document 1 Entered on FLSD Docket 07/29/2024 Page 11 of 12




          33.     Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

   Plaintiff’s injunctive relief, including an order to alter the Commercial Property, and the business

   named herein located within the commercial property, located at and/or within the commercial

   property located at 3399 NW 72nd Avenue, Miami, Florida, 33122, the exterior areas, and the

   common exterior areas of the Commercial Property, to make those facilities readily accessible

   and useable to the Plaintiff and all other mobility-impaired persons; or by closing the facility until

   such time as the Defendants cure the violations of the ADA.

        WHEREFORE, the Plaintiff, CARLOS BRITO, respectfully requests that this Honorable

   Court issue (i) injunctive relief against Defendants including an order to make all readily

   achievable alterations to the facilities; or to make such facilities readily accessible to and usable

   by individuals with disabilities to the extent required by the ADA; and to require Defendants to

   make reasonable modifications in policies, practices or procedures, when such modifications are

   necessary to afford all offered goods, services, facilities, privileges, advantages or

   accommodations to individuals with disabilities; (ii) an award of attorneys’ fees, costs and

   litigation expenses pursuant to 42 U.S.C. § 12205; and (iii) such other relief as the Court deems

   just and proper, and/or is allowable under Title III of the Americans with Disabilities Act.

   Dated: July 29, 2024
                                                          Respectfully submitted by,




                                                    11
Case 1:24-cv-22883-KMW Document 1 Entered on FLSD Docket 07/29/2024 Page 12 of 12




                                            GARCIA-MENOCAL, P.L.
                                            Attorneys for Plaintiff
                                            350 Sevilla Avenue, Suite 200
                                            Coral Gables, Fl 33134
                                            Telephone: (305) 553-3464
                                            Primary E-Mail: bvirues@lawgmp.com
                                            Secondary E-Mails: amejias@lawgmp.com
                                            jacosta@lawgmp.com

                                            By: ___/s/_Beverly Virues________
                                                   BEVERLY VIRUES
                                                   Florida Bar No.: 123713
                                                   ARMANDO MEJIAS
                                                   Florida Bar No.: 1045152

                                             THE LAW OFFICE OF RAMON J. DIEGO, P.A.
                                              Attorneys for Plaintiff
                                             5001 SW 74th Court, Suite 103
                                              Miami, FL, 33155
                                              Telephone: (305) 350-3103
                                              Primary E-Mail: rdiego@lawgmp.com
                                              Secondary E-Mail: ramon@rjdiegolaw.com


                                              By: ___/s/_Ramon J. Diego______
                                                     RAMON J. DIEGO
                                                    Florida Bar No.: 689203




                                       12
